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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA



  PATRICIA KENNEDY, individually,                          :
                                                           : Case No.: 9:17-cv-80228-BB
                  Plaintiff,                               :
  v.                                                       :
                                                           :
  VIVEX BROADWAY, INC., a Florida profit                   :
  corporation,                                             :
                                                           :
              Defendant.                                   :
  _____________________________________



                                  NOTICE OF SETTLEMENT

        Plaintiff, Patricia Kennedy, by and through undersigned counsel respectfully submits this

 Notice of Settlement, and informs the Court as follows:

 1.     Plaintiff, PATRICIA KENNEDY, has reached an agreement with Defendant,

        VIVEX BROADWAY, INC., to resolve all the claims between them with regard to this

        action.

 2.     The parties are in the process of preparing and executing a confidential settlement

        agreement and will be filing a Dismissal with the Court within thirty (30) days.

 3.     The parties request for the Court to terminate all case deadlines.



                                CERTIFICATE OF SERVICE

        I hereby certify that on April 25, 2017, I electronically filed this foregoing document with
 the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served
 this day on all counsel of record via transmission of Notice of Electronic Filing generated by
 CM/ECF.
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